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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-01557-DDD-STV

  DARREN PATTERSON CHRISTIAN ACADEMY
      Plaintiff,
  v.

  LISA ROY, in her official capacity as Executive Director of the Colorado
  Department of Early Childhood; and

  DAWN ODEAN, in her official capacity as Director of Colorado’s Universal
  Preschool Program,
        Defendants.

                                  ENTRY OF APPEARANCE

         To the Clerk of Court and all parties of record:

         I hereby certify that I am a member in good standing of the bar of this Court, and I appear

  in this case as counsel for Defendants Lisa Roy, in her official capacity as Executive Director of

  the Colorado Department of Early Childhood; and Dawn Odean, in her official capacity as

  Director of Colorado’s Universal Preschool Program.

         Respectfully submitted this 14th day of December, 2023.

                                                       PHILIP J. WEISER
                                                       Attorney General

                                                       s/ J. Gregory Whitehair
                                                       J. GREG WHITEHAIR
                                                       CO Reg. Number: 13523
                                                       Assistant Attorney General II
                                                       1300 Broadway, 10th Floor
                                                       Denver, CO 80203
                                                       Telephone: 720-508-6584
                                                       Email: greg.whitehair@coag.gov
                                                       Attorney for Defendants

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                            CERTIFICATE OF SERVICE

        I certify that I served the foregoing ENTRY OF APPEARANCE upon all
  parties herein by e-filing with the CM/ECF system maintained by the Court on
  December 14, 2023, addressed as follows:

  Jacob E. Reed
  44180 Riverside Parkway
  Lansdowne, VA 20176
  Email: jreed@ADFlegal.org

  David A. Cortman
  Ryan J. Tucker
  Jeremiah Galus
  Alliance Defending Freedom
  15100 N. 90th Street
  Scottsdale, AZ 85260
  Email: dcortman@ADFlegal.org
        jgalus@ADFlegal.org
        rtucker@ADFlegal.org

  Attorneys for Plaintiff
                                            s/ Bonnie Smith
                                            Bonnie Smith




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